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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 21-2299

                                   United States of America

                                                    Appellee

                                               v.

                              Ralph A. Ross, also known as R.A.

                                                    Appellant

______________________________________________________________________________

        Appeal from U.S. District Court for the Eastern District of Arkansas - Central
                                 (4:17-cr-00293-BSM-24)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 04/05/2022, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     April 26, 2022




Clerk, U.S. Court of Appeals, Eighth Circuit
____________________________________
          /s/ Michael E. Gans




   Appellate Case: 21-2299        Page: 1      Date Filed: 04/26/2022 Entry ID: 5150845
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                                                                           Eighth Circuit Court of Appeals

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Case Name:        United States v. Ralph Ross
Case Number:   21-2299
Document(s): Document(s)


Docket Text:
MANDATE ISSUED. [5150845] [21-2299] (Casey Lee)

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